           Case 7:24-cv-02333-PMH               Document 31          Filed 10/09/24         Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
P.F.
                                     Plaintiff(s),

                                                                       7:24            02333         pmh
                                                                                Civ.             (      )
                     - against -
                                                                       CLERK'S CERTIFICATE
Y.F.                                                                       OF DEFAULT

                                   Defendant(s),
-------------------------------------------------------------X

               I, DANIEL ORTIZ, Acting Clerk of the United States District Court for

the Southern District of New York, do hereby certify that this action was commenced on
3/27/2024 and amended on July 11, 2024 with the filing of a summons and amended petition

a copy of the Summons and Amended Petition
                                    .      was served on Y.F.

                             Jane Doe, a person of suitable age and discretion
by personally serving                                                                                       ,
                                                      9/03/2024                             23
and proof of service was therefore filed on                                   , Doc. #(s)                   .

I further certify that the docket entries indicate that the defendant(s) has not filed an

answer or otherwise moved with respect to the complaint herein. The default of the

defendant(s) is/are hereby noted.

Dated: New York, New York
             October 09    , 20 24                                      DANIEL ORTIZ
                                                                      Acting Clerk of Court


                                                                 By: _________________________
                                                                           Deputy Clerk




SD N Y W eb 3/2015
